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. Case 7:19'-mj-00888 Document 1 Filed on 04/19/19 in TXSD Page 1 of 3

AO 9l (Re\', ll/l_l) Criininal Compluint

/ ' ,UNITED STATES DISTRICT CoURT . l
' for the APR 19 2019

Southern District of Texas

 

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Southern Dletnct of Texas
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United Sta_tes of America ) _ 4 ~~~
.v. ) 1
oabriela MUle..»cruz ) Case NO- M /q" 033 2 M
COB:\ l\/l_exico .)
YoB: 1976 )
A\ ) \
, )
Defendant_(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best ot` my knowledge and belief.
On or about the date(s) of ` 04/18/2019 _ in the county of HldalQO in they
Southern ` District ot` -Texas , the defendant(s) violated: _ »-'
Code Sectio11 - _ ' Q/j”e)-zse Descrl.';z)l'ion
21 USC 841 ' did knowingly and intentionally possess With_ the'intent to distribute

approximately 15.62 kilograms of heroin a Schedule_ll controlled substance. y

did knowingly and intentionally import With the intent to distribute .
21 USC 952 approximately 15.62 kilograms of heroin a Schedule ll controlled substance.

This criminal complaint is based on these facts:

SEE ATTACHMENT A

if Continued on the attached sheet.

 

 

App»ov*d lb hug \
"Ro)a_bd’ wuh \/ Corwaimmt ’s' signature

a lie /w'@ _
~` Laron Smith, HSl Special Agent

Printed name and title

 

Sworn to before me and signed in my presence

mate £Q£Z greg/§ g U? jun //;€A-\__../%

Jz/dge' s signature

 

C_ity and mate t McAllen, .T_§( _ U.S. l\/laglstrate Judge Peter E. Ormsby -

Pr'z`nied name and tille

Cas_e 7:19-mj-.00888 , Document 1 Filed on 04/19/19 in TXSD Page 2 of 3
ATTACHMENT A

This affidavit ls intended to establish sufficient probable cause and does not set forth all of my
_ knowledge about this matter.

On April 18, 2019 at approximately 0907 hours, Gabriela MUNIZ- Cruz (Mexican Citizen) while
driving a F150 vehicle bearing Mexican license plate # WC7342A, applied for entry into the
United States (U. S.) via the Hidalgo, Texas, Port of Entry (POE). A Customs and Border
Protection Ofticer (CBPO) obtained a negative declaration for narcotics and other items and
referred MUNIZ to secondary inspection MUNIZ indicated she purchased the truck `
approximately one month prior and did not have any mechanical work done. Moreover, MUNIZ
indicated nobody else utilizes her vehicle. MUNIZ was referred to secondary inspection

During the secondary inspection, a Z-Portal scan indicated anomalies within_the drive shaft of the
vehicle. A CBP K- 9 subsequently alerted to the odor of narcotics inside of the drive shaft of the
vehicle. CBPOs subsequently discovered 17 brick shaped packages wrapped m plastic containing
a substance which field tested positive for heroin. .

On April 18, 2019, at approximately 1140 hours, Homeland Security Investigations (HSI) Special
Agents (SA) Ali Muhiuddin, SA Laron Smith, and CBPO Edgar Reynoso interviewed MUNI_Z, -
who waived her Miranda Rights 1n writing. The interview was conducted 111 the Spanish language
and translated by (CBPO) Reynoso. MUNIZ stated the following 1n summary;

MUNIZ said that her reasoning for crang+ the border was to go the flea market to buy a headlight
_ for her vehicle. MUNIZ stated she did now know there were drugs m her vehicle. MUNIZ was
asked if the vehicle belonged to her and she advised that she owned it. Insurance documents for
the vehicle were in MUNIZ’s name. MUNIZ said that she bought the vehicle approximately 3'to
4 weeks ago in Mexico and that no one else had been in possession of the vehicle since buying it
but her. MUN’IZ was asked if she had any mechanical work done to the vehicle that would cause
someone else besides herself to be in possession of the vehicle. MUNIZ said that she had a flat tire
approximately a Week ago and therefore had to get another tire but that she was near the vehicle
the whole time while the repairs were being performed `

'The interview was concluded, and MUNIZ was taking back to the holding area.

At approximately 1356 hours, MUNIZ advised (SA) Muhiuddin and (CBPO) Reynoso that she
remembered events that had taken place that she did not mention in the interview_. MUNIZ was
then brought back in for a continuation of the audio recorded interview MUNIZ said that a friend
had asked her to borrow the vehicle to move some furniture on or about April 16, 2019. MUNIZ
` said that_when it was time to pick up the vehicle, her friend sent an unknown male instead. MUNIZ
` was asked how long she loaned the vehicle to her`friend and the unknown male and she advised
that they had the vehicle for approximately 2 to 3 hours, `

MUNIZ said that she has noticed that her friend had been acting rather strange lately by asking
questions such as “where are you, where is the vehicle, and when are you going back to the United
States.” MUNIZ said that it was a possibility that her friend was involved in the distribution of
narcotics but did not know for sure. When asked why MUNIZ would think that was possible,

Case 7:19-mj-00888 Document 1 Filed on 04/19/19 in TXSD Page 3 of 3
A'ITACHN|ENT A

MUNIZ said it was because she always borrows money from her friend who wears flashy and
expensive clothing.

The interview Was concluded, and MUle was taking back to the holding area.

At approximately 1900 hours, CBPO Reynosa advised that MUNIZ approached him and requested v
' to speak with agents again At approximately 2002 hours, SA Smith, SA Muhiuddin, and CBPO
Reynosa re-interviewed MUNTZ, who waived her Miranda Rights in `writing. Agents confirmed
MUNIZ voluntarily wanted to'share-additional information MUNIZ confirmed she did,

MUNIZ said that she was not completely honest in the beginning due to receiving threats from her
friend. MUNIZ said that she and her friend had previously discussed MUNIZ smuggling
prescription medication into the U.S., but MUNIZ did not know if anything illegal was inside her
vehicle on this occasion as she attempted to enter the United States. MUNIZ said her friend helped
her purchase the vehicle that she owned in exchange for her to smuggle medication into the U.S.
and to provide transportation to anyone that her friend recommended to drive around in the United
States. MUNIZ said that she felt obligated to help her friend because MUNIZ received money and
the vehicle from her.

After being directed for inspections today while attempting to enter the U.S., MUNIZ said she
contacted her friend via the “Whats App” to let her know that`she was being inspected and that
CBP was checking her visa. MUNIZ said her friend told her not to mention anyone and if she did,
then MUNIZ’s family would be harmed. MUNIZ said she attempted to make contact with her
friend again via What’s App, but her friend blocked MUNIZ. MUNIZ said that she thought maybe
she was just smuggling medication but did not think it Was drugs such as heroin

